            Case 3:10-cr-04791-BTM                            Document 59                  Filed 06/15/11               PageID.175               Page 1 of 4


     """AO 245B    (Rev. 9/00) Judgrpent in a Criminal Case
                                                                                                                                                 FILED
                   Sheet 1                                                                                                                      JUN

                                                        UNITED STATES DISTRICT COURT                                               sou~~i~~
                                                                                                                                   BY
                                                                                                                                                  gs.IS DISTRICTF CALIFORNIA
                                                                                                                                                                   COURT

                                                          SOUTHERN DISTRICT OF CALIFORNIA                                                                              DEPUTY
                                     i
                     UNITED SJ1~ rES! OF AMERICA                                          AMENUED JUDGMENT IN A CRIMINAL CASE
                                     ,           v. i                                     (For Offenses Committed On or After November I, 1987)
                                     I
               FERNANDO BO(j::ANE~RA-RAMIREZ [2]                                          Case Number: 1OCR4791-BTM
                                     !
                                                                                          KURT HERMANSEN
                         I                                                                Defendant's Attorney
     REGISTRATION NO. 230~8298
     181 Correction of Sentenc9 for Cl~rical Mistake (Fed. R. Crim. P.36)
     THE DEFENDANT:             I
     181 pleaded guilty to countfs) 8 AND 10 OF THE INDICTMENT
     o was found guilty on cotnt(s)_._,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                         I

          after a plea of not guillX.    '
          Accordingly, the defen4lant is fldjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                     Count
     Title & Section                                Nature of Offense                                                                               Number(s)
8 USC 1324(a)(2)(B)(iii)                     BRINGING IN AN ILLEGAL ALIEN WITHOUT PRESENTATION                                                            8
8 USC 1324(a)(2)(B)(iii)                 , BRINtiING IN AN ILLEGAL ALIEN WITHOUT PRESENTAnON                                                               10




        The defendant is sentenced as provided in pages 2 through                     4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act or: 1984.
  o The defendant has been found ~ot guilty on count(s)
  181 Count(s) Remaining Counts I                       --------js-O--ar-e--I8I--d-j-sm-jS-se-d-o-n-t-h-e-m-o-t-jo-n-o-f-th-e-U-n-j-te-d-S-ta-t-es.

  181 Assessment:$200.00 ($100 per [count) Waived and Remitted.
                                             I
      Pursuant to the motion of the Unitqct States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is waived and remitted as uncollectible,

                                                          o Forfeiture pursuant to order filed ._--------­ , included herein.
                                             !

  181 Fine waived
       IT IS ORDERED that the def,ndant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, ret"itution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shaII notify the court and nited ~tates attorney of any material change in the defendant's economic circumstances.

                                                                                   MAY 27, 2011




                                                                                  HON. BARRY TED MOSKOWITZ
                                                                                   UNITED 8TATES DISTRICT JUDGE

                                                                                                                                                       1OCR4791-BTM
      Case 3:10-cr-04791-BTM                         Document 59         Filed 06/15/11       PageID.176            Page 2 of 4


AO 245B     (Rev. 9/00) Judgment ijl Criminal Case
            Sheet 2 - 1II1prisonmef

                                                                                              Judgment -   Page _ _2_ of       4
 DEFENDANT: FERNANDO BOCANEGRA-RAMIREZ [2]
 CASE NUMBER: IOCR4V91-BtM
                                                         IMPRISONMENT
          The defendant is he~eby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          NINE (9) MONTH$ AS 110 EACH COUNT TO RUN CONCURRENT FOR A TOTAL OF NINE (9) MONTHS.




    D Sentence imposed ~rsuant to Title 8 USC Section 1326(b).
    D The court makes the following recommendations to the Bureau of Prisons:
                                                                                          ~ BARRY ED MOSKOWITZ
                                                                                            UNITED STATES DISTRICT JUDGE




    D The defendant is remandeid to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
            Dm--____~--__--- Da.m.                         Dp.m.         on _ _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.
                                  I

    D The defendant shal· surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D______~------------------__.--------------------­
       D as notified by tPe United States Marshal.
           o as notified by tPe Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered oh                                                 to

 at _ _ _ _ _ _ _~------, with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                    By _____.__~~~~==~~~~~----------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     lOCR4791-BTM
          Case 3:10-cr-04791-BTM                       Document 59            Filed 06/15/11            PageID.177            Page 3 of 4


A0245D        (Rev. 3110) Judgmemiin a Criminal Case for Revocations
              Sheet 3 - Supervise1 Releas~
                                                                                                           Judgment-Page   - - l - of        4
DEFENDANT: FERNANIPO BO',CANEGRA-RAMIREZ [2]
CASE NUMBER: lOCR4191-B11M
                                 I ·                        SUPERVISED RELEASE
Upon release from imprisonnient, the defendant shaU be on supervised release for a term of:
TWO (2) YEARS AS TO E1CH COUNT TO RUN CONCURRENT FOR A TOTAL OF TWO (2) YEARS.

                                  I
         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of trisons.
The defendant shall not comJit another federal, state or local crime.
For offenses committed on 0 after September 13. 1994:
The defendant shall not illeg Hy po~sess a controUed substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant sh 11 sub~it to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by t~e court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unlesf othe~ise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse~'(Check, if applicable.)
        The defendant shall not' osses$ a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall coop 'ate in ~e collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backing Elimination Act Of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall register wi~h the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as direct~d by t~e probation officer. (Check, if applicable.)
D The defendant shall par~ciPate. in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imphses a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unifaid at !the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.        ,
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions impos¢d.   '


                                  I       STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall noJ leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall repprt to t~e probation officer and shall submit a truthful and complete written report within the first five days of
         each month;                    .
  3)      the defendant shall an,wer tru.,thfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall su~port his or her dependents and meet other family responsibilities;
  5)      the defendant shaH wdrk regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;         !
  6)      the defendant shall notify the1probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall ref\'ain frQm excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any plaraphernaJia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall n01 frequClnt places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall no~ associiate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granter permission to do so by the probation officer;
 10)      the defendant shaH permit a ptobation officer to visit him or her at any time Ilt home or elsewhere and shaH permit confiscation of any
          contraband observed i, plainview of the probation officer;
 11)      the defendant shall no~fy the Jilrobation officer within seventy-two hours ofb eing arrested or questioned by a law enforcement officer;
 12)      the defendant ~hall no~ enter ~nto any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission ofthe court; and
 13 )     as directed by the probttion officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal hisfOry or! characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's complianc~ with such notification requirement.
                                                                                                                                  lOCR4791-BTM
            Case 3:10-cr-04791-BTM                           Document 59      Filed 06/15/11           PageID.178           Page 4 of 4


       A0245B       (Rev, 9/00) Judgme~t in a Cnminal Case
                    Sheet 4 - Special ondition~
                                                                                                           Judgment-Page   ~    of _-.:..4_ _
       DEFENDANT: FERNA DO BpCANEGRA-RAMIREZ [2]
       CASE NUMBER: lOC~791-'TM




                                               SPECIAL CONDITIONS OF SUPERVISION
D Submit person, residence, of±e or vehicle to a search, conducted by a United Staltes Probation Officer at a reasonable time and in a
    reasonable manner, based up reasli)nable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for re ,ocation; the defendant shalJ warn any other residents that the premises may be subject to searches pursuant to
    this condition.              '

D
                                      I
D Not transport, harbor, or assist undo¢umented aliens.
D Not associate with undocumented aliens or alien smugglers,
!81 Not reenter the United States illegally.
D Not enter the Republic of Mexico w~thout written permission ofthe Court or probation officer.
D Report alJ vehicles owned or Illperatel<i, or in which you have an interest, to the probation officer.
!81 Not possess any narcotic drug: or controlJed substance without a lawful medical prescription.
D Not associate with known users of, stnugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form,
D Participate in a program ofm ntal h~alth treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psycholo ical evaluations to the mental health provider, as approved by the probation officer. The defendant shalJ
    consent to the release ,of eval tions and treatment information to the probation officer and the Court by the mental health provider.


D Take no medication contain in a controlJed substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure elf personal and business financial records to the probation officer as requested.
D Be prohibited from opening c~ecking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.                 '
D Seek and maintain full time et,hployment and/or schooling or a combination of both.
D Resolve alJ outstanding warrahts within         days.
D Complete          hours of c~,muni~ service in a program approved by the probation officer within
D Reside in a Residential Reent Center (RRC) as directed by the probation officer for a period of
D Participate in a program of g or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
    counseling sessions per mont as directed by the probation officer.
                                  I
!81 If deported, excluded, or allo~ed to oluntarily leave the United States, obey all laws federal, state and local and not reenter the United
                                               v,

    States ilJegalJy and report to t e probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defenda " is out of the United States after deportation, exclusion, or voluntary departure.
                                       !




                                                                                                                                    lOCR4791-BTM
